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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ROBERT GENCO,

                        Plaintiff,

         v.                                                Civil Action No. 2:20-cv-01392-JP

 SEAWORLD PARKS AND ENTERTAINMENT,                            Hon. John R. Padova, USDJ
 LLC, d/b/a SESAME PLACE

                        Defendant.




                             JOINT STIPULATION OF DISMISSAL



       Plaintiff Robert Genco and Defendant SeaWorld Parks and Entertainment, LLC d/b/a

Sesame Place, by and through their attorneys, hereby jointly stipulate and agree that this matter is

dismissed without prejudice and compelled to arbitration. The parties further stipulate and agree

that by entering this stipulation the parties do not waive any claims or defenses, and specifically

Defendant does not consent to arbitration as the proper forum Count II of Plaintiff’s Complaint.

Defendant reserves the right to file a Motion to Dismiss in arbitration on all counts, including but

not limited to on the basis of improper forum as to Count II of Plaintiff’s Complaint. Plaintiff shall

submit the Seaworld Parks & Entertainment Request for Binding Arbitration form along with the

filing fee within forty-five (45) days of the entry of this Order.



Respectfully submitted,



/s/ David M. Koller                            /s/ Katheryn Eisenmann
David M. Koller (PA 90119)                     Katheryn Eisenmann (PA ID: 312083)
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Attorney for Plaintiff               Attorneys for Defendant




SO ORDERED ON THIS ___22___ day of July, 2020.



                                        /s/ John R. Padova
                                     Hon. John R. Padova, U.S.D.J.
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 SEAWORLD PARKS AND ENTERTAINMENT,                           Hon. John R. Padova, USDJ
 LLC, d/b/a SESAME PLACE

                       Defendant.



                                     CERTIFICATE OF SERVICE

       I hereby certify that, on this 15th day of July, 2020, a true and correct copy of the foregoing

Joint Stipulation to Dismiss was sent to the Clerk of Court by ecf_clerksoffice@paed.uscourts.gov

for forwarding to The Honorable John R. Padova, U.S.D.J.


                                              OGLETREE, DEAKINS, NASH,
                                              SMOAK & STEWART, P.C.

                                              /s/ Katheryn Eisenmann

                                              Attorney for Defendant




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